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     Joseph Raymond Scoccimaro, Petitioner  v.  The People of the City of Aurora Respondent No. 24SC804Supreme Court of Colorado, En BancFebruary 24, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      Arapahoe County District Court Case No. 24CV30721
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      JUSTICE HOOD does not participate.
    